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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION


 STATE OF TEXAS; STATE OF
 LOUISIANA,

                                                       Civ. Action No. 6:21-cv-00016
                       Plaintiffs,

        v.

 The UNITED STATES OF AMERICA;
 ALEJANDRO MAYORKAS, Secretary of the
 United States Department of Homeland
 Security, in his official capacity; UNITED
 STATES DEPARTMENT OF HOMELAND
 SECURITY; TROY MILLER, Senior Official
 Performing the Duties of the Commissioner of
 U.S. Customs and Border Protection, in his
 official capacity; U.S. CUSTOMS AND
 BORDER PROTECTION; TAE JOHNSON,
 Acting Director of U.S. Immigration and
 Customs Enforcement, in his official capacity;
 U.S. IMMIGRATION AND CUSTOMS
 ENFORCEMENT;          TRACY        RENAUD,
 Senior Official Performing the Duties of the
 Director of the U.S. Citizenship and
 Immigration Services, in her official capacity;
 U.S. CITIZENSHIP AND IMMIGRATION
 SERVICES,


                       Defendants.




              PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs submit the following Notice of Supplemental Authority to advise the Court of

two orders issued yesterday by the en banc United States Court of Appeals for the Fifth Circuit
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regarding the motions panel’s September 15, 2021 order that partially stayed this Court’s

preliminary injunction entered in this case. Texas v. United States, 14 F.4th 332 (5th Cir. 2021)

(the “Stay Order”). First, the court granted Plaintiffs’ Petition for Rehearing En Banc and vacated

the Stay Order. Texas v. United States, No. 21-40618, Doc. 00516111350 (5th Cir. Nov. 30, 2021)

(attached as Exhibit A). Hours later, the court issued an order clarifying that the appeal of the Stay

Order would be heard by a three-judge panel—rather than the en banc court—“in due course” but

confirmed its earlier vacatur of the Stay Order. Id. at 00516112252 (attached as Exhibit B).

       During the status conference held October 7, this Court inquired about the effect that the

reasoning of the Stay Order should have on this litigation going forward, ECF No. 107, and the

parties extensively addressed the effect of the Stay Order in their briefing on the pending Plaintiffs’

Motion to Postpone the Effective Date of Agency Action or, in the Alternative, for Preliminary

Injunction (the “Motion to Postpone”). ECF No. 111; see also ECF Nos. 122, 128.

       Plaintiffs have consistently advanced the position that this Court is in no way bound by the

reasoning in the Stay Order, while Defendants have relied on it extensively as precluding the relief

requested in the Motion to Postpone. Now that the Stay Order is no more, even that phantom poses

no obstacle to this Court applying its previous reasoning from its order preliminarily enjoining the

now-superseded prioritization memoranda. ECF No. 79.

       When a court decision is vacated its “ruling and guidance” are “erased” and of no

precedential value. United States v. Windsor, 570 U.S. 744, 761 (2013); see also United States ex

rel. Marcy v. Rowan Companies, Inc., 520 F.3d 384, 389 (5th Cir. 2008) (noting that the “panel

opinion upon which Marcy relies was automatically vacated when it was reheard en banc,” so the

“panel opinion is not precedent”); United States v. Pineda-Ortuno, 952 F.2d 98, 102 (5th Cir.

1992) (because “rehearing en banc has been granted . . . the panel decision is vacated and of no


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precedential value”) (citing 5th Cir. R. 41.3).

       If there had been any doubt, yesterday’s orders from the Fifth Circuit confirm that this

Court should not be constrained by the reasoning of the Stay Order when considering the Motion

to Postpone.

Date: December 1, 2021                    Respectfully submitted.

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                              CERTIFICATE OF COMPLIANCE

        I certify that the total number of words in this response, exclusive of the matters designated

for omission, is 427, as counted by Microsoft Word.

                                                     /s/ Ryan D. Walters
                                                     RYAN D. WALTERS



                                  CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on December 1, 2021, which automatically serves all counsel of record who are

registered to receive notices in this case.

                                                     /s/ Ryan D. Walters
                                                     RYAN D. WALTERS




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